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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 CHRISTINA FERRARI, individually and
 behalf of all others similarly situated,

                    Plaintiff,

        v.                                                Civil Action No. 1:24-cv-02617-KAS

 MOXIE PEST CONTROL – DENVER, LLC,
 a Colorado company, and MOXIE PEST
 CONTROL LP, a Texas company,

                    Defendants.


                                   NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Ferrari hereby provides notice of the

dismissal of this action with prejudice as to Plaintiff’s individual claims and without prejudice as

to any other member of the putative class’s right to bring claims, with each party to bear its own

attorneys’ fees and costs.

Dated: January 8, 2025                               Respectfully submitted,

                                                     By: /s/ Avi R. Kaufman
                                                     Avi R. Kaufman
                                                     kaufman@kaufmanpa.com
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                                                     237 South Dixie Highway, 4th Floor
                                                     Coral Gables, FL 33133
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                                                     Counsel for Plaintiff and the putative class
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing was served on all Parties and their counsel of

record through the Court’s CM/ECF filing system on January 8, 2025.

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                                                    By: /s/ Avi R. Kaufman




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